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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                        SAN JOSE DIVISION

                                   6

                                   7     MATT JONES, et al.,                               Case No. 22-cv-04486-BLF
                                   8                    Plaintiffs,
                                                                                           ORDER STRIKING "JOINT
                                   9             v.                                        STATEMENT REGARDING
                                                                                           STIPULATION AND [PROPOSED[
                                  10     PGA TOUR, INC.,                                   ORDER REGARDING CASE
                                                                                           SCHEDULE"
                                  11                    Defendant.
                                                                                           [Re: ECF No. 425]
                                  12
Northern District of California
 United States District Court




                                  13          The parties’ “Joint Statement Regarding Stipulation and [Proposed] Order Regarding Case

                                  14   Schedule” (ECF No. 425) is hereby STRICKEN. The TOUR has provided its proposed deadlines

                                  15   as a number of days following the conclusion of the appeals filed by the Public Investment Fund

                                  16   of the Kingdom of Saudi Arabia and His Excellency Yasir Othman Al-Rumayyan. The Court will

                                  17   review proposed deadlines only as dates certain. Accordingly, the parties may re-file their joint

                                  18   statement with the TOUR’s proposed deadlines provided as dates certain.

                                  19          IT IS SO ORDERED.

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                                  21   Dated: May 8, 2023

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                                                                                       BETH LABSON FREEMAN
                                  23                                                   United States District Judge
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